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           15             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  MEMORANDUM IN SUPPORT OF
           18       a Delaware corporation,                       APPLE’S MOTION TO BAR
                                                                  PLAINTIFFS FROM RAISING
           19                          Plaintiffs,                OFFENSIVE COLLATERAL
                                                                  ESTOPPEL
           20             v.
                    APPLE INC.,                                   Date: August 22, 2022
           21
                    a California corporation,                     Time: 1:30pm
           22                                                     Courtroom: 10C
                                       Defendant.
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                    MEMO. ISO APPLE’S MOT. TO BAR PLAINTIFFS FROM RAISING OFFENSIVE COLLATERAL ESTOPPEL
Wilmer Cutler
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
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